Case 23-30132      Doc 117-3     Filed 08/05/24 Entered 08/05/24 15:08:04          Desc Notice
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                      IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

In re:                                      )              Case No. 23-30132
                                            )              (Chapter 11)
CHRISTOPHER WAYNE GLENN                     )
                                            )
                Debtor.                     )

   NOTICE OF MOTION TO AMEND CONFIRMED PLAN OF REORGANIZATION

         NOTICE IS HEREBY GIVEN that Christopher Wayne Glenn has filed a motion to amend

his confirmed plan of reorganization by removing the Subchapter V trustee as the disbursing agent

and allowing Mr. Glenn to make disbursements himself. Aside from retitling the confirmed plan,

no other proposed amendments are sought in the motion.

         NOTICE IS FURTHER GIVEN that written objections to the motion, if any, shall be filed

with the Clerk of the United States Bankruptcy Court for the District of North Dakota, 655 1st

Ave. N. Suite 210, Fargo, ND 58102-4932 within fourteen (14) days from the date of the mailing

of this notice. Any objections not filed and served may be deemed waived.


                                            Respectfully submitted,

Dated: August 5, 2024                By:    /s/ Maurice B. VerStandig
                                            Maurice B. VerStandig, Esq.
                                            The Dakota Bankruptcy Firm
                                            1630 1st Avenue N
                                            Suite B PMB 24
                                            Fargo, North Dakota 58102-4246
                                            Phone: (701) 394-3215
                                            mac@dakotabankruptcy.com
                                            Counsel for Mr. Glenn




                           [Certificate of Service on Following Page]
                                                 1
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 5th day of August, 2024, a copy of the foregoing was

served electronically upon filing via the ECF system, with copies being thereby sent to:

Sarah J. Wencil, Esq.                               Katelyn Krabbenhoft, Esq.
Office of the U.S. Trustee                          HALLIDAY, WATKINS & MANN, P.C.
Suite 1015 U.S. Courthouse                          376 East 400 South, Suite 300
300 South Fourth Street                             Salt Lake City, Utah 84111
Minneapolis, Minnesota 55415                        Counsel for Wells Fargo Bank, N.A.
sarah.j.wencil@usdoj.gov
Counsel for the US Trustee                          John M. Krings, Jr., Esq.
                                                    Kaler Doeling, PLLP
Thomas Kapusta, Esq.                                3429 Interstate Boulevard South
P.O. Box 90624                                      PO Box 9231
Sioux Falls, South Dakota 57109                     Fargo, North Dakota 58106-9231
tkapusta@aol.com                                    Counsel for Lighthouse Management Group
Subchapter V Trustee                                Inc.

Douglas W. Murch, Esq.                              Kathryn A. Klein, Esq.
CONMY FESTE LTD.                                    Riezman Berger, P.C.
P.O. Box 2686                                       7700 Bonhomme Avenue, 7th Floor
Fargo, North Dakota 58108-2686                      St. Louis, Missouri 63105
dmurch@conmylaw.com                                 Counsel for JPMorgan Chase Bank, N.A.
Counsel for Ford Motor Credit Company
LLC


       I FURTHER CERTIFY on August 5, 2025, a copy of the foregoing—but not the motion

to which this notice is attached—is being sent via US Mail, postage prepaid, to all parties on the

attached mailing matrix except for those receiving service via CM/ECF.


                                             /s/ Maurice B. VerStandig
                                             Maurice B. VerStandig




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